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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig                     *      MDL NO. 2179
       “DEEPWATER HORIZON: in the                   *
       GULF OF MEXICO, on April 20, 2010            *
                                                    *      SECTION: “J”
                                                    *
                                                    *
                                                    *      JUDGE BARBIER
                                                    *      MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:                           *
      Civil Action No. 10-1245                      *
      Darleen Jacobs Levy vs. BP, PLC, et al        *

*******************************************
          MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
            ELEVENTH SUPPLEMENTAL AND AMENDING COMPLAINT

MAY IT PLEASE THE COURT:

       Plaintiff, Darleen Jacobs Levy, seeks to file this Eleventh Supplemental and Amending

Complaint. Defendants have been consulted and there is no objection to the filing of the

Eleventh Supplemental and Amending Complaint. In accordance with Rule 7/6(E) there is no

objection to this motion.

       WHEREFORE, plaintiff, Darleen Jacobs Levy, moves this Honorable Court to grant the

Eleventh Supplemental and Amending Complaint as outlined above.

                                                    Respectfully submitted:

                                                    S/Darleen M. Jacobs
                                                    DARLEEN M. JACOBS, ESQ. (#7208)
                                                    RICHARD MARTIN, ESQ.
                                                    KENNETH CHARBONNET, ESQ.
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                                                    Attorneys for Plaintiffs
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the above the above and foregoing Tenth Supplemental and
Amending Complaint has been served on All Counsel by electronically uploading the same to
Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing
in accordance with the procedures established in MDL 2179, on this 13th day of April, 2011.


                                                    S/Darleen M. Jacobs
                                                    DARLEEN M. JACOBS
